'

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Case 3:20-cv-00091-CRW-HCA Document1 Filed 10/23/20 Page 1 of 14 ‘

UNITED STATES DISTRICT COURT

Southern E G Ste¢ (¥\_ Division

Thomas Andon G

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
if the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-y-

See atte chee

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

RECEIVED

for the
____. District of
OCT 232020
CLERK US. DISTRICT COU
SOUTHERN DISTRICT OF ‘OWA

Case No.

 

(to be filled in by the Clerk's Office)

Jury Trial: (check one) [| Yes | ]No

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

A Adrew ;
108 Cestview’ Krive

Eldcidge
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Theres
Apt. ZA

beor qGé.

Scott
58743

(313) 983-8597
_ tandcen) Q00 & 4ma ) com

Provide the information below for each defendant named in the complaint, whether the defendant is an’
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (known). Attach additional pages if needed.

Page 1 of 5
Case 3:20-cv-00091-CRW-HCA Document1 Filed 10/23/20 Page 2 of 14

 

 

 

 

 

 

 

 

 

 

 

 

Neil, Alexander
Shove hallec
—___|Manpouer_clo_Littlec Mendelson, rie
ch Little Mendelon - GSC
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Defendant No. 1

 

 

 

 

 

 

Name Manpower

Job or Title (if known) '

Street Address | G5 | 3 R wee c Wwe

City and County Moline Rock sland County
State and Zip Code TH/; Anis GIALS
Telephone Number ( 307 ) 7, a: R857

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number
E-mail Address (if kown)

 

 

Defendant No. 3
Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number
E-mail Address (if known)

 

 

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code

 

 

 

 

 

Telephone Number
E-mail Address (if known)

 

 

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With  Davepport Civil Kights, Also_ jpn Filed en
with EEOC, The case Was fib i OTB, | ee.
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Ane Child sy port Is exceeding | withholdings ets
lacdecs, at On t : have the money for GN

2 Appease lawyer. tT con't find help wifh =
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What he basis for federal court jurisdiction? (check all that apply)
Federal question [ ] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

Tille Wll_of fe Cwil Rights Act, Egual fay Act

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name)

 

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) ;
and has its principal place of business in the State of (name)

 

(ff more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2. The Defendant(s)

 

 

a. If the defendant is an individual
The defendant, (name) , is acitizen of
the State of (name) . Oris acitizen of
(foreign nation)

 

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

 

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) :

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

 

I. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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A ¢efum by Company boss, But was dened & 06

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IV. Relief
State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include

the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages. ——

im asking foc payment for Wrong
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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable |
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: lp -al - AOA0

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

 
 

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

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JS44 (Rev, 08/16)

The JS 44 civil cover sheet and
provided b

local rules of court. This form, approved by the Judicial Conference of the United States in

CIVIL COVER SHEET

the information contained herein neither replace nor supplement the filing an
ep

purpose of initiating the civil docket sheet, (S&E INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

J. (a) PLAINTIFFS

, Thomas, Andrea &
(b) County of Residence of First Listed Plaintiff S CO t ¢

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

. DEFENDANTS

Mean powes

THE TRACT OF LAND INVOL

Attomeys (If Known)

 

and service of pleadings or other papers as
tember 1974, is required for the use of the

required by law, except as

lerk of Court for the

County of Residence of First Listed Defendant R Of k Ls IP n a

(IN U.S. PLAINTIFF CASES ONLY)
NOTE: mL LAND CONDEMNATION CASES, USE THE LOCATION OF

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

Il. BASIS OF JURISDI IN (Place an “X” in One Box Only) YO. CITIZENSHIP OF PRINCIPAL PARTIES (Pace an “X" in One Box for Plaintiff
(Por Diversity Cases Only) and One Box for Defendant)
O11 US. Government 3 Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State. OG 1 OF 1 Incorporated or Principal Place o4 a4
of Business In This State
0 2. US. Government GO 4 Diversity Citizen of Another State G2 © 2 Incorporated and Principal Place os O85
Dofendant (Indicate Citizenship of Parties in Item [19 of Business In Another State :
Citizen or Subject of a 03 O 3 Foreign Nation o6 O6
Foreign Country
IV. NATURE OF SUIT J Place an “X" in One Box Only) Click here for: Nature of Suit Code Descriptions,
bi CONTRAGCE:- 2 TORTS: : | FORFEITURE/PENALTY “ BANKRUPTCY. paren TUT
CO 110 Insurance PERSONAL INJURY PERSONAL INJURY {07 625 Drug Related Seizure 0) 422 Appeal 28 USC 158 O 375 Falso Claims Act
CO 120 Marine GC 310 Airplane O 365 Personal Injury - of Property 21 USC 881 |G 423 Withdrawal O 376 Qui Tam (31 USC
CF 130 Miller Act G 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729{a))
©) 140 Negotiable Instriment Liability O 367 Health Care/ G 400 State Reapportionment
OF 150 Recovery of Overpayment [7 320 Assault, Libel & Pharmaceutical ~_ PROPERTY RiGHoss: | 410 Antitrust
& Enfor of Fudgmen: Slander Personal Injury (1 820 Copyrights © 430 Banks and Banking
G 151 Medicare Act O 330 Federal Employers’ Product Liability OC 830 Patent O 450 Commerce
CG 152 Recovery of Defaulted Liability OC} 368 Asbestos Personal © 840 Trademark O 460 Deportation
Student Loans (3 340 Marino Injury Product O 470 Racketeer Influenced and
(Excludes Veterans) OF 345 Marine Product Liability : TABOR. ~ SOCAT'SEGUREEY = __- Corrupt Organizations
CO) 153 Recovery of Overpayment Liability PERSONAL PROPERTY io 710 Fair Labor Standards OF 861 HIA (1395ff) G 480 Consumer Credit
of Veteran’s Benefits CO 350 Motor Vehicle O 370 Other Fraud Act O 862 Black Lung (923) G 490 Cable/Sat TV
© 160 Stockholders’ Suits CG 355 Motor Vehicle O 371 Truth in Lending CO 720 Labor/Management O 863 DIWC/DIWW (405(g)) |O 850 Securities/Commodities/
CJ 190 Other Contract Product Liability 0 380 Other Personal Relations OC 864 SSID Title XVI Exchange
© 195 Contract Product Liability [0 360 Other Personal Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) OF 890 Other Statutory Actions
OF 196 Franchise Injury C) 385 Property Damage OC) 751 Family and Medical O 891 Agricultural Acts
O 362 Personal Injury - Product Liability Leave Act © 893 Environmental Matters
Medical Mal; G 790 Other Labor Litigation 0 895 Freedom of Information
iv. t REAL PROPERTY...’ |<: CIVIL RIGHTS:: ...,. |; PRISONERIPETITIONS | (1) 791 Employee Retirement ‘| FEDERAL TAX SUITS’. Act
© 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: Tacome Security Act O 870 Taxes (U.S. Plaintiff © 896 Arbitration
OF 220 Foreclosure a2 Voting CG 463 Alien Detainee or Defendant) 1 899 Administrative Procedure
O 230 Rent Lease & Ejectment 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
CG 240 Torts to Land OC #443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations OC 530 General 0 950 Constitutionality of
O} 290 All Other Real Property O 445 Amer. w/Disabilities- | 535 Death Penalty, % IMMIGRATION State Statutes
Employment Other: O 462 Naturalization ‘Application
© 446 Amer. w/Disabilities -|) 540 Mandamus & Other |(} 465 Other Immigration
‘Other C1 550 Civil Rights Actions
O 448 Education © 555 Prison Condition 3
GO 560 Civil Detaines -
Conditions of
Confinement
Vé ORIGIN (Place an “X” in One Box Only)
1 Original 12 Removed from O 3  Remanded from (1 4 Reinstated or O 5 Transierredfrom O 6 Maultidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Direct File

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

Brief description of cause:

 

 

Vil. REQUESTED IN

QO) CHECK IF THIs IS A CLASS ACTION DEMAND $

CHECK. YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes ONo
VOI. RELATED CASE(S)
IF ANY (See instructions): ge DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
APPLYING IFP JUDGE MAG. JUDGE

RECEIPT #

AMOUNT
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EEOC rom 161 cine) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
nl DISMISSAL AND NOTICE OF RIGHTS
To: Andrew G. Thomas From: + Chicago District Office
108 Crestview Drive, Apt 2A 230 S. Dearborn
Eldridge, |A 52748 Suite 1866

Chicago, IL 60604

 

[| On behaif of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Fatima Sandoval,
440-2020-03849 Investigator Support Asst (312) 872-9682

THE EEOC JS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU BOOOGU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information ettached te this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

Julianne Bowman/ty August 20, 2020

Julianne Bowman, (Date Mailed)
District Director

Enclosures(s)

ce: Neil Alexander

Shareholder

Manpower c/o Littler Mendelson, P.C.
c/o Littler Mendelson - GSC

2391 McGee Street, 8th Floor

Kansas City, MO 64108
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Enclosure with EEOC
Form 161 (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below. )

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA)
PRiv ae $ ;
ATE SUIT RIGHTS the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was maifed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usuaily, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA): .

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years} before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
Suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

lf you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE --__ All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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EEOC Form 5 (11/09}

 

‘CHARGE OF DISCRIMINATION Charge Presented To: jSencvlles) Charge

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act |] FEPA no a a cr ae 7
Statement and other information before completing this form.
EEOC 440-2020-0384

 

 

ILLINOIS DEPARTMENT OF HUMAN RIGHTS and EEOC

State or local Agency, ifany

 

Name (indicate Mr., Ms., Mrs.) Home Phone Year of Birth

MR. ANDREW G THOMAS (313) 953-8527

 

 

 

 

 

 

 

Street Address City, State and ZIP Code

108 CRESTVIEW DRIVE, APT 2A, ELDRIDGE, IA 52748

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That | Believe Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name . No. Employees, Members Phone No.
MANPOWER 15 - 100 (309) 762-8857
Street Address City, State and ZIP Code

1513 RIVER DRIVE, MOLINE, IL 62265

 

 

 

 

 

Name No. Employees, Members Phone No.

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

RACE [| COLOR || SEX [| RELIGION [| NATIONAL ORIGIN 03-01-2020 03-01-2020
[| RETALIATION [| AGE [| oisasiiTy [|_| GENETIC INFORMATION

[| OTHER (Specify) . [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet{s}}:

| applied for employment with Respondent.in March 2020. | was denied employment with Respondent _
due to my background check.

| believe | have been discriminated against because of my race, Black, in violation of the Title VII of the
Civil Rights Act of 1964, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any. | will advise the agencies if | change my address or phone number
and | will cooperate fully with them in the processing of my charge In

 

 

accordance with their procedures. | swear or affirm that | have read the above charge and that it
| declare under penalty of perjury that the above is true and correct. | is true to the best of my knowledge, information and belief.

SIGNATURE OF COMPLAINANT

Digitally signed by Andrew Thomas on 06-30-2020 09:40 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
PM EDT (month, day, year

 

 

 

 
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[ WA Reporting Food Assistance Changes

HUMAN “SERVICES

Keep this form so you know how and when to report changes. If you don’t report on time, you will
have to repay benefits. If you are found guilty of purposely withholding information, you will be
banned from receiving Food Assistance for at least a year, pay fines, or face criminal charges.

Date:
ANDREW THOMAS
APT 2A 10/09/20
108 CRESTVIEW DR Case #:
ELDRIDGE IA 52748

R29034-00-0-9

You have been approved for Food Assistance (FA) and will receive your Notice of Decision explaining
benefits in a separate mailing. This letter explains how and when to report changes that happen while
you receive FA benefits. This form is for the FA program only. Remember, if you receive FIP or
Medicaid, you have 10 days to report changes for those programs.

Important! If you have any of the changes listed below, you must report them by the 10th of
the next month after the change happens.

e If your household's income goes over the gross income limit of $_1,383.00
o Gross income is the amount before taxes and other deductions are taken out.
o Include income of all household members.

e This is the amount we count each month as self-employment earnings $
o Include this amount when you are totaling the total gross amount of all household
members.

e If anyone in your household receives lottery or gambling winnings of $3,500 or more.

e If the following person(s) stop working 80 or more hours in a month, report by the 10th:

How to Report Changes

e Call: 1-877-347-5678 Monday - Friday 7:00 a.m. to 6:00 p.m., excluding state holidays
e Email: IMCSC@dhs.state.ia.us

Quality Control

Quality Control is responsible for reviewing Food Assistance cases to ensure they are accurate. If
your case is selected for review, you are required to cooperate by attending an interview and
providing verification of your circumstances. If you do not cooperate, your Food Assistance benefits
will be canceled. You will not be eligible for benefits again until you cooperate.

470-2960 (Rev. 6/20) W2960A
Social Security No. Office NumpaeS© Se QeCV- Sopate ees Document 1 Filed kO/esi20 Page 13 of 14 Mailed

Wages Program {Compensable Period)
¥**-**-9794 0470-19-163 8 0 00 M CWCP UI 05/17/29 CORRECTED 05/22/2020
THOMAS, ANDREW, G
NUMBER OF DEPENDENTS = 3; | BUSINESS PERMANENTLY CLOSED = NO

YOU HAVE THE RIGHT TO WITHDRAW FROM THIS COMBINED-WAGE CLAIM BY 06/01/20.
YOUR WEEKLY BENEFIT AMOUNT IS $328.00; YOUR MAXIMUM BENEFIT AMOUNT IS $8204.87
THIS IS OUR RECORD OF YOUR EMPLOYERS AND WAGES DURING THE BASE PERIOD 01/01/19 THRU 12/31/19:

EMPLOYER NUMBER-LOC 1 QTR 19 2 QTR 19 3 QTR 19 (4 QTR Be WAGE-CREDITS
ILLINOIS 100017-000 6569.20 YR) 2 ey 6421.88 4215.38 7512.91
QPS EMPLOYMENT GROUP, I 362504-000 2075.89 691.96
QPS EMPLOYMENT GROUP, I 362504-000 WAS YOUR LAST EMPLOYER.
ALL CONTINUED CLAIMS FOR UNEMPLOYMENT INSURANCE BENEFITS IN IOWA MUST BE FILED ONLINE AT
WWW. TOWAWORKFORCEDEVELOPMENT.GOV.
IOWA UNEMPLOYMENT INSURANCE IS AN EQUAL OPPORTUNITY PROGRAM. IF YOU REQUIRE SPECIAL
ASSISTANCE, YOU MAY CONTACT CUSTOMER SERVICE AT 1-866-239-0843. AUXILARY AIDS ARE AVAILABLE
UPON REQUEST TO INDIVIDUALS WITH DISABILITIES. FOR DEAF AND HARD OF HEARING USE RELAY 711.

The Ul! benefits are subject to allowance or correction. See information on reverse side.

65-5318 (03-14)
Case 3:20-cv-00091-CRW-HCA Document1 Filed 10/23/20 Page 14 of 14

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THOMAS, ANDREW, G
108 CRESTVIEW DR APT 2A
ELDRIDGE IA ° 52748-9625

ie

lowa Workforce Development
Unemployment Insurance Benefits
1000 East Grand Avenue

Des Moines, 1A 50319-0209

To be eligible for Unemployment Insurance (UI} benefits, you must have earned sufficient, qualifying wages during the base period of your UI claim with
employers covered by the lowa Employment Security Law, The base period is a one-year time frame used to determine the amount and duration of your UI
benefits. The base period consists of the first four of the last five completed calendar quarters at the time the UI claim is established.

If you meet the minimum wage-requirements to establish a valid UI claim, the reverse side of the Monetary Record shows the weekly benefit amount (WBA)
and the maximum benefit amount (MBA) you may qualify to receive during your benefit year. The reverse side of the Monetary Record also shows all of
your gross wages earned during the base period, as reported to lowa Workforce Development (IWD). Out-of-state, federal, and military wages may not be
reflected on this initial Monetary Record because those wages must be requested from the appropriate sources. Once the wages are received and added to
the UI claim, an updated Monetary Record will be mailed to you.

Review this form carefully since the amount of Ul benefits you may receive is based entirely on the wages shown on the reverse side of this form. If any
information is missing or incorrect, please contact IWD immediately to file a wage investigation or follow the UI appeal instructions listed below.

The request for a Ul appeal must be postmarked or received at |WD within 10 calendar days after the mailing date shown on this form. If no request for a UI
appeal or wage investigation is received, this Monetary Record becomes final ten days after the date it is mailed. Your written request for a UI appeal should
be submitted to the following address:

Ul Appeals Section

lowa Worntorce Development ——— = > 3 a
1000 East Grand Avenue

Des Moines, lowa 50319-0209

Your UI appeal must be made in writing and contain the following information:
* Your name, address, and Social Security number
* Mailing date of this form (which is on the reverse side)
* The reason for your UI appeal
+ Whether you need an interpreter, and if so, for what language is the interpreter needed

If you file a UI appeal, a hearing may be held. You may represent yourself at the scheduled UI appeal hearing or you may obtain the services of legal counsel
or other interested party, at no expense to IWD.

The benefit amounts listed on the reverse side of this form are subject to the allowance or denial of the following:

* any appeal filed within ten days of the date this record was mailed

* meeting all the eligibility requirements of the lova Employment Security Law
For additional information about the U! program (such as eligibility requirements, computation of UI benefits, Ul appeals, and more) please refer to your
“Facts about Unemployment Insurance Handbook”.
if you have any questions about this Monetary Record, you may contact your nearest lowa WORKS Center, call Customer Service at 1-866-239-0843, or
send an email to uiclaimshelp@iwd.iowa.gov. 65-5318 (03-14)
